                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                           DOCKET NO. 5:03CR51-RLV
                                     5:12CV177-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                     SCHEDULING ORDER
                                 )
                                 )
ALVIN DWIGHT FAIR                )
                                 )
           Defendant.            )
________________________________)


      THIS MATTER is before the Court on an Order (Doc. No. 192 ) granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 3) in case 5:12CV177, filed November 16, 2012.

      IT IS, THEREFORE, ORDERED that:

      The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of ALVIN DWIGHT FAIR(USM# 19420-

058), for re-sentencing on September 2, 2014, at 2 PM, before the Honorable Richard

L. Voorhees, in the Western District of North Carolina, Statesville Courthouse, 200 West

Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than August 15,

2014, and upon completion of the re-sentencing hearing, Defendant is to be returned to

the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.




   Case 5:03-cr-00051-RLV-DCK           Document 193    Filed 06/30/14     Page 1 of 2
      IT IS SO ORDERED.




Signed: June 30, 2014




  Case 5:03-cr-00051-RLV-DCK   Document 193   Filed 06/30/14   Page 2 of 2
